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EEOC FOrn'l 5 (11/09)

 

 

 

 

 

 

 

 

CHARGE OF D|SCR||\/||NAT|ON Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act |:| FEPA
Statement and other information before completing this form.
EEoc 440-2017-05017
illinois Department Of Human Rights and EEOC
State or local Agency, if any

Name (lndicate Mr., Ms., Mrs.) Home Phone (/ncl. Area Code) Date of Birth
Ju|ie Nachampassack (773) 414-5975 1983

Street Address City, State and Z|P Code

4527 Newcastle Road, Rockford, iL 61108

 

Named is the Emp|oyerl Labor Organization, Emp|oyment Agencyl Apprenticeship Committee, or State or Local Government Agency That | Beiieve
Discriminated Against Me or Others. (lf more than two, list under PART/CULARS be/oW.)

 

 

 

 

Name No. Emp|oyaes, Members Phone NO. (/nC/ude Area Code)
lLL|NO|S STATE TOLL H|GHWAY AUTHOR|TY 500 or More (630) 241 -6800
StreetAddress City, State and ZiP Code

2700 Ogden Avenue, Downers Grove, iL 60515

 

 

 

 

 

Name - No. Emp|oyees, Members Phone NO. (/fiC/Ude Area Code)
Street Address Cityl State and Z|P Code
D|SCRiMiNAT|ON BASED ON (Check appropriate box(es).) DATE(S) DiSCRliVi|NAT|ON TOOK PLACE

Eariiest Latest

m RAcE |:| coLoR sEx |:] RELleloN m NATioNAL oRie\N 01 ..24_2017
RETAL|AT|oN :] AcE oisABiLnY |:] cENETiciNFoRMATioN

oTHER (spec;fy) 13 coNTlNuiNc AcTioN

 

 

THE PART|CULARS ARE (/f additional paper is needed, attach extra sheet(s)):
i was hired by Respondent on or around November 2002. My most recent position was Senior
Tol|way Co|iector. During my employment, l was subjected to sexual harassment and discipline. i
complained to no avail. Respondent was also aware of my disability and failed to provide me with a
reasonable accommodation and subsequently, on or around January 24, 2017, i was discharged.

l believe l have been discriminated against because of my sex, femaie, (pregnanCy), and in retaliation
for engaging in protected activity, in violation of Titie Vil of the Civil Rights Act of 1964, as amended.

i also believe l have been discriminated against because of my disability, in violation of the
Americans with Disabi|ities Act of 1990, as amended.

NGV 09 2017

 

 

| want this charge H|ed with both the EEOC and the State or local Agency, if any. l NOTARY ' When necessary for State and LOCS/ Agency Re<lU/'remenfs
will advise the agencies if l change my address or phone number and i will
cooperate fully with them in the processing of my charge in accordance with their

 

procedures i swear or affirm that i have read the above charge and that it is true to

 

 

| declare under penalty of perjury that the above is true and correct the best of my knowledgel information and beiief.
SiGNATURE OF COMPLA|NANT

suBscRiBEo AND swoRN To BEFoRE ME THis DATE
Nov 09, 2017 (mon¢h, day, yean

Date ChaJ€-}; in Pi¥ .' iE`}¢Svgnarure

 

 

 

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BRVAN J. O'CONNOR
BRYAN J. O'CONNOR, JR.
EiLEEN i\/l. O'CONNOR'
-LlcENsEo iN lL AND wl

O'CONNOR

LAW GROUP, l.LC

July18, 2017

EEOC

Chicago District Offlce
500 W. Madison Street
Suite 2000

Chioago, IL 60661

Re: Julie Nachampassack [Employee]
Filing Discrimination Charge

This letter is my (Julie Nachampassack) formal filing of a discrimination charge against the
Illinois State Toll Highway Authority.

1. Employee: Julie Nachampassack
4527 Newcastle Road
Rockford, IL 61108
773-414-5975
inachainpassacl<(dignnlil.ccin

2. Employer: Illinois State Toll Highway Authority
2700 Ogden Avenue
Downers Grove, IL 60515

3. Date of Discrimination: January 24, 2017
4. Description of Discrimination:

(a) .lulie Nachampassack had a disabling condition related to her pregnancy and
child birth, for which a treating medical care provider ordered her ofi"work. This
medical care provider anticipated that Julie Would eventually be able to return to Work
in the same capacity in which she was working prior to the disability. Notwithstanding,
the Tollway wrongfully terminated Julie While she Was disabled and off work [per
orders of the medical care provider] and receiving care & treatment for her disability.

(b) Julie Nachampassack was the victim of retaliatory discharge for participating in an
Investigation by the Illinois State Toll l'lighway Authority in regards to sexual

140 S. DEARBORN ST., SU|TE 320 CH|CAGO, |L 60603 TEL: (312) 236 -1814 FAX: (312) 580-5479 WWW.OCOnnOrlOWgrp.COm

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harassment by one of its employees against co-employees, including sexual harassment
of Julie Nachampassack.

(c) In violation of the Whistleblower Acts, Julie Nachampassack Was Wrongfully
terminated for participating in an Investigation by the Illinois State Toll Highway
Authority in regards to sexual harassment by one of its employees against co-
employees, including sexual harassment of Julie Nachampassack.

(d) Julie Nachampassack Was harassed and subject to a hostile work environment,
culminating in her unlawful termination She Was harassed and subject to a hostile
work environment for participating in an Investigation by the Illinois State Toll
Highway Authority in regards to sexual harassment by one of its employees against co-
employees, including sexual harassment of Julie Nachampassack

5. There are more than 1,500 employees of the Illinois State Toll Highway Authority.

6. On information and belief, there have been no proceedings relating to these
discriminatory acts.

5. There are more than 1,500 employees of the Illinois l
State Toll Highway Authority.

6. On information and belief, there have been no
proceedings relating to these discriminatory acts.

Under penalties as provided by law, the undersigned certifies
that the statements set forth in this instrument are true and
correct, except as to matters therein stated to be on information
and belief and as to such matters the undersigned certifies as
aforesaid that he verin believes the same to be true

z .ll 'e)N champassack Date
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/ZM'VMM% 5 ?‘“'it jt

 

